
ORDER
PER CURIAM.
AND NOW, this 11th day of May, 2005, John Martin DeLaurentis having been suspended from the practice of law in the State of New Jersey for a period of one year by Order of the Supreme Court of New Jersey filed November 29, 2004; the said John Martin DeLaurentis having been directed on February 8, 2005, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in .this Commonwealth would be unwarranted and the reasons therefor; and no response having been-filed, it is
ORDERED that John Martin DeLau-rentis is suspended from the practice of law in this Commonwealth consistent with the Order of the Supreme Court of New Jersey filed November 29, 2004, the suspension to run consecutive to the suspension imposed by this Court on March 7, 2003, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
